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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

BARRY KORCSMAROS,

       Plaintiff,

v.                                                               Case No: 8:16-cv-2399-T-36AAS

UNITED RECEIVABLES GROUP, LLC,

      Defendant.
___________________________________/

                                            ORDER

       The Court has been advised by the Notice of Settlement and Motion for Administrative

Closure of Case (Doc. 30) that the above-styled action has been settled. Accordingly, pursuant to

Local Rule 3.08(b), M.D.Fla., it is

       ORDERED AND ADJUDGED

       1. Plaintiff’s Motion for Administrative Closure of Case is GRANTED in part (Doc.

           30).

       2. This cause is hereby DISMISSED without prejudice and subject to the right of the

           parties, within ninety (90) days of the date of this order, to submit a stipulated form of

           final order or judgment should they so choose or for any party to move to reopen the

           action, upon good cause shown. After that 90-day period, however, dismissal shall be

           with prejudice. Any pending motions are denied as moot and the Clerk is directed to

           terminate all deadlines and administratively close the file.
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      DONE AND ORDERED in Tampa, Florida on July 6, 2017.




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